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                          U.S.SEC URITIES A ND EXC HANG E CO M M ISSIO N

                                                                                 Investigation//171.-04282
                                         DECLARATION OF Fawad W alizai
     Pursuantto 28 U.S.C.Section 1746,the undersigned statesasfollows:

            M y nam eisFawad W alizaiIam overtwenty-oneyearsofageand havepersonalknow ledgeofthe matters
            setforth herein.


                 lam assigned asan IT Specialistto the U.S.Securitiesand Exchange Comm ission'sDivision of
                 Enforcementin W ashington,D.C. Aspartofmy dutiesIhavebeentrained to preserve variousforms
                 ofonline content. Forinvestigation #FL-04282.Ihave been tasked to conducta W ebsi
                                                                                                 te
                 Capture/video Capture/socialMedia/Telegram /live stream/blog
                In supportofinvestigation num berF1.-04282,and atthedirection ofmy supervisor. lwastasked to
                conductaninternetpreservationofthefollowingURL's.
                     www.mjcapitalfunds.com
                     https://www.instagram .
                                           com p/cl-wgqcyhtGv/


            Icompleted theabovementioned internetpreservation on,August4,2021. using the following tools:
                   FullPage Screen Captureand W eb PreserverEvidence

                The above listed toolsare commonly used topreserve internetcontent.
            1saved theabove-mentioned internetpreservation using FTK lm ager. which ensuresthatthe internet
            preservation willnotbe altered ormodified during storage. Specifically,FTK Imagerforensically sealsthe
            internetpreservation such thatitcan beopened only w ith FTK lmager. Thesealed internetpreservation
            hasbeen labeled 171.-04282 and savedto thefollowing location:

            Krhother ProjectshW ebcaptureshimagesles
            Ialso saved a copy ofthe abovem entioned internetpreservation along with thisdeclaration to a network
            share.The location forthisnetwork share isprovided below:

                    K:hother ProjectshW ebcaptures

     Ideclareunderpenaltyofperjurythattheforegoingistrue.correct,andmadeingoodfaith.




                                                               Executed onthis4th day ofAugust2021.
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